Case 1:18-cv-01099-WTL-MJD Document 22 Filed 09/06/18 Page 1 of 1 PageID #: 114



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                    Indianapolis Division


 ALICIA CARTER,                                           )
            Plaintiff,                                    )
                                                          )
        v.                                                ) Case No. 1:18-cv-01099-WTL-MJD
                                                          )
 NAVIENT SOLUTIONS, INC.,                                 )
           Defendant.                                     )


             ORDER GRANTING JOINT MOTION TO COMPEL ARBITRATION
                              AND STAY ACTION

        Plaintiff, Alicia Carter, by counsel, and the Defendant, Navient Solutions, LLC f/k/a Navient

 Solutions, Inc., by counsel, have compelled this action to arbitration pursuant to the terms of the

 arbitration agreement. The Court, being duly informed and finding said Motion made for good cause,

 now GRANTS said Motion.

        IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by this Court that

 this action is compelled to arbitration. This case is administratively closed pending a motion

 to reopen by either party after conclusion of the arbitration proceedings.

        Date:
        Date:9/6/18

                                                _______________________________
                                                 Hon. William T. Lawrence, Judge
                                                 United States District Court
                                                 Southern District of Indiana


 Copies to counsel of record electronically registered.
